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                                  United States District Court
                                 Southern District of New York

Virginia L. Giuffre,

               Plaintiff,                     Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

             Defendant.
______________________________/

   DECLARATION OF SIGRID S. MCCAWLEY IN PLAINTIFF’S RESPONSE IN
 OPPOSITION TO DEFENDANT’S MOTION FOR DEFENDANT’S RULE 37(b) &(c)
SANCTIONS FOR FAILURE TO COMPLY WITH COURT ORDER AND FAILURE TO
                     COMPLY WITH RUILE 26(a)

       I, Sigrid S. McCawley, declare that the below is true and correct to the best of my

knowledge as follows:

         1.    I am a Partner with the law firm of Boies, Schiller & Flexner LLP and duly

licensed to practice in Florida and before this Court pursuant to this Court’s Order granting my

Application to Appear Pro Hac Vice.

         2.    I respectfully submit this Declaration in response to Defendant’s Motion for

Defendant’s Rule 37(b) &(c) Sanctions for Failure to Comply with Court Order and Failure to

Comply with Rule 26(a).

         3.    Attached hereto as Sealed Exhibit 1 is a true and correct copy of Excerpts from

 the May 18, 2016 Deposition of                  .

         4.    Attached hereto as Sealed Exhibit 2 is a true and correct copy of Excerpts from the
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June 10, 2016 Deposition of                   .

        5.    Attached hereto as Sealed Exhibit 3 is a true and correct copy of Excerpts from the

June 20, 2016 Deposition of

        6.    Attached hereto as Sealed Exhibit 4 is a true and correct copy of Excerpts from the

June 21, 2016 Deposition of Joseph Recarey.

        7.    Attached hereto as Sealed Composite Exhibit 5 is a true and correct copy of E-mail

Correspondences to Laura Menninger.

        8.    Attached hereto as Sealed Composite Exhibit 6 is a true and correct copy of

Medical Release Letter to Providers.

        9.     Attached hereto as Sealed Composite Exhibit 7 is a true and correct copy of April

 29, 2016 Signed Medical Releases to Opposing Counsel.


        10.   Attached hereto as Sealed Exhibit 8 is a true and correct copy of Judith Lightfoot’s

 Redacted Medical Release (Giuffre005431-005438).

        11.    Attached hereto as Sealed Exhibit 9, is a true and correct copy of Excerpts from

 the June 24, 2016 Deposition of                  .

        12.   Attached hereto as Sealed Exhibit 10 is a true and correct copy of Excerpt from the

May 26, 2016 Confidential Deposition of Dr. Steven Olson.


       I declare under penalty of perjury that the foregoing is true and correct.

                                              /s/ Sigrid McCawley
                                              Sigrid McCawley




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Dated: June 28, 2016

                                 Respectfully Submitted,

                                 BOIES, SCHILLER & FLEXNER LLP

                            By: /s/ Sigrid McCawley
                                Sigrid McCawley (Pro Hac Vice)
                                Meredith Schultz (Pro Hac Vice)
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 28, 2016, I electronically filed the foregoing

document with the Clerk of Court by using the CM/ECF system. I also certify that the foregoing

document is being served to all parties of record via transmission of the Electronic Court Filing

System generated by CM/ECF.


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                                                         /s/ Sigrid S. McCawley
                                                         Sigrid S. McCawley, Esq.




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